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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

GARY LEON WEBSTER                                                                       PLAINTIFF
ADC #114018

v.                               Case No. 4:20-cv-01232-KGB

DOE, Regional Director,                                                              DEFENDANT
Department of Veteran Affairs


                                           JUDGMENT

       Pursuant to the Order filed on this date, it is considered, ordered, and adjudged that plaintiff

Gary Leon Webster’s complaint is dismissed without prejudice. The relief sought is denied. The

Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that an in forma pauperis appeal taken from the

Order and Judgment dismissing this action is considered frivolous and not in good faith.

       So adjudged this 21st day of October, 2020.




                                                              Kristine G. Baker
                                                              United States District Judge
